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 9   REY MOBILE HOME ESTATES
10                                    UNITED STATES BANKRUPTCY COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12
     In re                                               Case No. 8:21-bk-11710-ES
13
     JAMIE LYNN GALLIAN,                                 Chapter 7
14
                           Debtor.                       OPTIONAL APPELLEE STATEMENT OF
15                                                       ELECTION TO PROCEED IN DISTRICT
                                                         COURT
16
                                                         [NOTICE OF APPEAL FILED 7-28-22 AS
17                                                       DK. NO. 161]

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                  OPTIONAL APPELLEE STATEMENT OF ELECTION TO PROCEED IN DISTRICT COURT
     4880-1284-8131,v.1
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Official Form 417B (12/15)




                                  [Caption as in Form 416A, 416B, or 416D, as appropriate]


               OPTIONAL APPELLEE STATEMENT OF ELECTION TO PROCEED IN
                                  DISTRICT COURT
       This form should be filed only if all of the following are true:

               this appeal is pending in a district served by a Bankruptcy Appellate Panel,
               the appellant(s) did not elect in the Notice of Appeal to proceed in the District Court rather than in
                the Bankruptcy Appellate Panel,
               no other appellee has filed a statement of election to proceed in the district court, and
               you elect to proceed in the District Court.

       Part 1: Identify the appellee(s) electing to proceed in the District Court

           1. Name(s) of appellee(s):
               House Bros. Co.
              _________________________________________________________________________

           2. Position of appellee(s) in the adversary proceeding or bankruptcy case that is the subject of this
              appeal:

                 For appeals in an adversary proceeding.               For appeals in a bankruptcy case and not in an
                    Plaintiff                                         adversary proceeding.
                    Defendant                                          Debtor
                    Other (describe) ________________________        XXX
                                                                        Creditor
                                                                        Trustee
                                                                        Other (describe)   ________________________


       Part 2: Election to have this appeal heard by the District Court (applicable only in
       certain districts)
           I (we) elect to have the appeal heard by the United States District Court rather than by the Bankruptcy
           Appellate Panel.

       Part 3: Sign below

        /s/ Laila Masud
       __________________________________________________                                 August 1, 2022
                                                                                Date: _____________________________________
       Signature of attorney for appellee(s) (or appellee(s)
       if not represented by an attorney)

       Name, address, and telephone number of attorney
       (or appellee(s) if not represented by an attorney):
         LAILA MASUD - MARSHACK HAYS LLP
       __________________________________________________
          870 Roosevelt, Irvine, CA 92620
       __________________________________________________
          Tel. (949) 333-777; Email: lmasud@marshackhays.com
       __________________________________________________




       Official Form 417B           Optional Appellee Statement of Election to Proceed in District Court
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: OPTIONAL APPELLEE STATEMENT OF ELECTION TO
PROCEED IN DISTRICT COURT will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
2, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 2, 2022, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR
JAMIE LYNN GALLIAN
16222 MONTEREY LN UNIT 376
HUNTINGTON BEACH, CA 92649

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on August, 2, 2022, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 2, 2022                           Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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        cmendoza@ecf.courtdrive.com
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        lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
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     INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
     U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
